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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

MOUNT DORA HIGH SCHOOL
FELLOWSHIP OF CHRISTIAN
ATHLETES, S.G., E.F., M.B., L.B. and
GERALD BUELL,

Case No.: 5:14-cv-00209-WTH-PRL
Plaintiffs,

Vv.

LAKE COUNTY SCHOOL BOARD,
SUSAN MOXLEY and PAM
CHATEAUNEUF,

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Defendants.

 

CONSENT DECREE AND ORDER
Findings of Fact

1, On April 11, 2014, Plaintiffs, MOUNT DORA HIGH SCHOOL
FELLOWSHIP OF CHRISTIAN ATHLETES (“the FCA Club”), S.G., E.F., M.B., L.B., and
Gerald Buell, filed a Complaint (dkt. 1) against Defendants, LAKE COUNTY SCHOOL
BOARD (“the District”), SUSAN MOXLEY, in her official capacity as Superintendent of
Lake County Schools, and PAM CHATEAUNEUF, in her official capacity as Principal of
Mount Dora High School.!

Drs The FCA Club is a non-curricular student club at Mount Dora High School, a
public school within the District. Plaintiffs S.G., E.F., M.B. and L.B. (“the student

Plaintiffs”) are minors enrolled as students at Mount Dora High School, and members of the

 

' Superintendent Moxley and Principal Chateauneuf have since been voluntarily dismissed,
without prejudice. (Dkt. 21).
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FCA Club. Plaintiff Buell is a teacher employed by Defendants, and is currently acting as an
advisor to the FCA Club.

3. In their Complaint, Plaintiffs challenged the District’s practices and Policy
4.501, governing “High School Student Clubs and Organizations” (“the Policy”). Plaintiffs
asserted various constitutional and statutory claims pursuant to 42 U.S.C. § 1983, arising
from the Policy and the District’s denial to the FCA Club of certain privileges and benefits
provided by the District to other non-religious, non-curricular student clubs. Among other
claims, Plaintiffs asserted that the District’s Policy and practices violated the First and
Fourteenth Amendments to the United States Constitution, and the Equal Access Act, 20
U.S.C. § 4071, et seq.

4. On April 14, 2014, Plaintiffs FCA Club, S.G., E.F., M.B. and L.B. filed a
Motion for Preliminary Injunction (dkt. 5), seeking immediate access to privileges and
benefits provided by the District to other non-religious, non-curricular student clubs,
including: (a) the ability to place club announcements in the hallways and on the school’s
marquee; (b) the ability to place flyers and posters in and outside of classrooms where clubs
meet; (c) the ability to present announcements over the school’s public address system; (d)
the ability to maintain a club webpage on the District’s website; (e) the ability to wear
colored cords at graduation to signify club membership; and (f) free inclusion of the club in
the yearbook. Hereinafter, the benefits listed in (a) through (f) shall be referred to as “Club
Benefits.”

5. The parties agree, and this Court finds, that this Consent Decree has been

negotiated by the parties in good faith, and is intended to avoid expensive and protracted
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litigation between the parties as to the issues resolved herein.

Conclusions of Law

6. The terms of this Consent Decree are fair, reasonable and serve the public
interest.

a The terms of this Consent Decree comport with the United States Constitution
and the Equal Access Act. See e.g., Bd. of Educ. of Westside Cmty. v. Mergens, 496 U.S. 226
(1990).

8. Without limiting the Court’s finding in paragraph 7, above, the Court
specifically finds that the terms of this Consent Decree do not violate the Establishment
Clause. See e.g., Mergens, 496 U.S. at 247-253; Prince v. Jacoby, 303 F.3d 1074, 1094-94
(9th Cir. 2002); Pope by Pope v. E. Brunswick Bd. of Educ., 12 F.3d 1244, 1254-56 (3d Cir.
1993).

2 The Constitution and the Equal Access Act require the District to provide
Club Benefits to the FCA Club to the same extent and on the same terms as any other high
school, non-curricular, non-religious student club.* See, e.g., Mergens, 496 U.S. at 247;
Prince, 303 F.3d at 1077, 1082, 1086; Pope, 12 F.3d at 1246.

10. The District has provided Club Benefits to high school, non-religious, non-
curricular student clubs, but has denied Club Benefits to the FCA Club. In so doing, the
District has violated the constitutional and statutory rights of the FCA Club and its student

members.

 

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2 In this Consent Decree, the terms “curriculum” “curricular” and “non-curricular” have the
same meaning provided by the Supreme Court in Mergens and its progeny for the purposes
of interpretation of the Equal Access Act, not for interpretation of the First Amendment.
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11. The FCA Club and student Plaintiffs are entitled to the injunctive relief and
damages provided herein.

12. | The FCA Club and student Plaintiffs are prevailing parties within the meaning
of 42 U.S.C. § 1988, and are entitled to recover reasonable attorney’s fees and costs incurred
in obtaining this Consent Decree.

Order
THEREFORE, with the consent of the Parties, it is ORDERED, ADJUDGED and

DECREED as follows:

13. The District is hereby permanently enjoined from denying to the FCA Club,
and any other high school religious non-curricular student club, Club Benefits that the
District provides to any other high school non-religious, non-curricular student club, and
from enforcing its Policy in a manner that violates the Equal Access Act or the First
Amendment, consistent with current, applicable law.

14. Within thirty (30) days of the entry of this Consent Decree, the District shall
begin the process of amending the Policy. Such amendment will reflect the requirements of
this Consent Decree and the current statutory and case law relating to student clubs and
organizations, and may be subject to a final ruling in this cause on the sole remaining issue of
a paid faculty advisor.

15. Within fourteen (14) days of the entry of this Consent Decree, the District
shall pay the FCA Club the sum of two hundred and seventy-five dollars ($275.00), as and
for damages incurred by the FCA Club. The District shall] deposit this sum directly into the

FCA Club’s account maintained by Mount Dora High School.
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16. | Within fourteen (14) days of the entry of this Consent Decree, the district shall
pay each of the student Plaintiffs (S.G., E.F., M.B. and L.B.) the sum of ten dollars ($10.00),
as and for nominal damages incurred by the student Plaintiffs. The District shall discharge
this obligation by delivering a bank draft in the amount of forty dollars ($40.00), payable to
“Liberty Counsel,” to counsel for student Plaintiffs at the address below their signature.

17. | This Consent Decree resolves all issues raised by Plaintiffs in this action, with
the exception of Plaintiffs’ claim that they are entitled to a paid faculty advisor or monitor.
The Clerk shall not enter Final Judgment until that issue is resolved. The Court retains
jurisdiction of this action to resolve the paid faculty advisor issue, to determine the
entitlement to any additional fees and costs beyond those contemplated herein, the
reasonableness of any attorney’s fees ultimately awarded, and to enforce the terms of this
Consent Decree.

18. Pursuant to Fed. R. Civ. P. 54(d) and Local Rule 4.18, the FCA Club and
student Plaintiffs shall file a Bill of Costs and/or a Motion for Attorney’s Fees and Costs
within thirty (30) days of the entry of Final Judgment.

19. | Nothing in this Consent Decree shall be construed to limit the FCA Club or
student Plaintiffs from seeking redress for, or filing a new action, for any violation of their
constitutional or statutory rights alleged to occur after the entry of this Consent Decree.

20. Nothing in this Consent Decree shall be construed to limit any party’s right to
enforce this Consent Decree according to its terms.

21. In the event that any court of competent jurisdiction determines that any

provision of this Consent Decree, or any part thereof, cannot be enforced, such determination
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shall not affect or invalidate the remainder of this Consent Decree.

22. The provisions of this Consent Decree apply to the District, its officers,
agents, servants, employees, and attorneys, and any other persons who are in active concert
or participation with them.

23. This Consent Decree is the product of arms-length negotiation between the
parties and their experienced counsel. By their signatures below, the parties’ counsel approve
the terms and form of this Consent Decree. The Consent Decree was drafted by all parties,
and, in any dispute over its meaning or interpretation, its provisions shall not be construed
against any party.

24. Each undersigned representative of the parties to this Consent Decree certifies
that he or she is fully authorized by the party to enter into and execute this Consent Decree,
and to legally bind such party to this Consent Decree. By their representative’s signature

below, the Parties consent to entry of this Consent Decree.

DONE and ORDERED this day of , 2014.

 

Wm. Terrell Hodges
U.S. District Judge
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The undersigned parties agree to and request the entry of this Consent Decree and Order:

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next friend or W, FRISBIE

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Plaintiff M.B., by and through her parent and

DEFENDANT SCHOOL BOARD OF
LAKE COUNTY, FLORIDA

by DESRE SVerDeL _, its

representative duly authorized to execute
this Consent Decree.

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Plaintiff L.B. , by and through her potent and

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Approved as to form: bez VHLD W. BULL

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Mathew D. Staver

Florida Bar No. 0701092
Anita L. Staver

Florida Bar No. 0611131
Liberty Counsel
Post Office Box 540774
Orlando, FL 32854-0774
(800) 671-1776 — Telephone
(407) 875-0770 — Telefacsimile
ecf email: court@lc.org

Aitorneys for Plaintiffs

ephen W/Johnspn

Figrida Bar Not 269867
Stephanie {. MgCulloch

Florida Bar No. 0638161
McLin Burmsed
Post Office Box 491357
Leesburg, Florida 34749-1357
(352) 787-1241 Telephone
(352) 326-2608 Facsimile
Email: Steve] @mclinburnsed.com
StephM@mclinburnsed.com

Attorneys for Defendants
